     UNITED STATES BANKRUPTCY COURT FOR THE NORTHERN DISTRICT OF ALABAMA

IN RE                                        +
                                             +                 Case No. 23-40181
JAMISON MCCOY                                +

                              MOTION FOR RELIEF FROM STAY

     Comes now ATLAS RENTAL PROPERTY LLC, debtor’s present landlord, and moves this
Honorable Court for an order granting it relief from the stay and as grounds states:

1.    The debtor leases from your movant the property known as 408 West Ave, Sylacauga, AL
35150. The debtor promised to pay $850.00 per month rent plus late fees in the amount of
$85.00 if not paid before the fifth day of the month.

2.      The debtor filed bankruptcy on 02/21/2023.

3.    The debtor owes post-petition rent. The balance due at 04/01/2023 is $1,785.00. Attached
are copies of the landlord’s affidavit, the lease, and ledger. (Exhibit 1)

4.    The landlord asserts he is entitled to an Order Granting him Relief from the Stay so
that he may seek possession of his private property.

5.    The landlord requests that upon the Stay being lifted that any automatic stay of
execution pursuant to Rule 4001(a)(3) be waived for the purpose of seeking possession only.

       Wherefore, the landlord requests an Order Granting Relief from Stay and such other
relief to which he may be entitled at law and in equity.

        Respectfully submitted,
                                                     /s/ Larry Darby______
                                                     Larry E. Darby (DAR009)
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                                  CERTIFICATE OF SERVICE

      I hereby certify that I have served a copy of the forgoing upon the following interested
parties electronically or by placing a copy of the same in the U.S. Mail on the date that this
document was filed in the above case.

Matthew Davis                                        Linda Baker Gore, Trustee
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Jamison McCoy
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                      /s/ Larry Darby______
                      Larry E. Darby
